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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

        Plaintiff,                                        Case No. 3:23-cr-43

vs.

ADRIAN M. JACKSON,                                        District Judge Michael J. Newman

      Defendant.
______________________________________________________________________________

ORDER: (1) ADOPTING IN FULL THE REPORT AND RECOMMENDATION OF THE
  UNITED STATES MAGISTRATE JUDGE (Doc. No. 25); AND (2) GRANTING THE
   JOINT MOTION FOR DEFENDANT TO CHANGE HIS PLEA (Doc. No. 21)
______________________________________________________________________________

        This criminal case is before the Court on the Report and Recommendation of the United

States Magistrate Judge, recommending that the Court grant the joint motion for Defendant to

change his plea and accept Defendant’s guilty plea. Doc. No. 25. There being no objections, the

Court ADOPTS the Report and Recommendation in full and GRANTS the joint motion (Doc.

No. 21). The Court accepts Defendant’s plea of guilty as to Count One of the Information,

charging him with knowingly possessing a machinegun, in violation of 18 U.S.C. §§ 922(o) and

924(a)(2). Doc. No. 20 at PageID 43. The Court will defer the decision of whether to accept the

plea agreement until the sentencing hearing.

        IT IS SO ORDERED.

         July 17, 2023                             s/ Michael J. Newman
                                                   Hon. Michael J. Newman
                                                   United States District Judge
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